
In re Buras, et al., Eric Joseph; — Defendant; Applying .For Supervisory and/or Remedial Writs, Parish of St. Tammany, *89522nd Judicial District Court Div. J, No. 2006-15699; to the Court of Appeal, First Circuit, No. 2013-CA-1328.
Not considered; not timely filed. Although Columbus Day is a legal holiday pursuant to La. R.S. 1:55(A)(1), it is not one of the specific enumerated holidays which are listed as legal holidays in La. R.S. 1:55(E)(3) for purposes of the calculation of time delays under La. Code Civ. P. art. 5059. See Hooper v. Wisteria Lakes Subdivision, 13-2433 (La.1/27/14), 130 So.3d 954.
HUGHES, J., would consider the merits.
